                                                             U.S. DISTRICT ~C' ·---
          Case 4:12-cr-00224-BSM Document 33 Filed 01/07/13 PageDISTRICT
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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS                       I.~J O.PEN COUR . .--~ ~-~·/
                                     WESTERN DIVISION                   JAMES v\1. MqCORM.ACK . .._, '--·''
                                                                        BY:      ~ :L.) fl M~------ --
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UNITED STATES OF AMERICA                          *
                                                  *
                        Plaintiff,                *
v.                                                *
                                                  *
JACKIE JAWANNA MARKHAM                            *            No. 4:12CR00224-02-BSM
                                                  *
                        Defendant.                *
                                                  *
                                                  *
                                              ORDER

        Pursuant to the Pretrial Release Order entered in this matter on this date (Doc. No. 32), the

Defendant is released from U.S. Marshal custody. Officials from Rockwall, Texas are expected to

take her into custody and transport her to Texas for pending charges. When the matter is resolved

in Texas, Defendant is ordered to contact her pretrial services officer, defense attorney, and self

report to Wilbur Mills Treatment Center in Arkansas for in-patient drug treatment as a condition of

her pretrial release.

        IT IS SO ORDERED this 7th day of January 2013.



                                                       JO
                                                                        ES MAGISTRATE JUDGE
